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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                               Jointly Administered under
                                                                     19-43756 (WJF)
Granite City Food & Brewery Ltd.                                     19-43756
Granite City Restaurant Operations, Inc.                             19-43757
Granite City of Indiana, Inc.                                        19-43758
Granite City of Kansas Ltd.                                          19-43759
Granite City of Maryland, Inc.                                       19-43760

                  Debtors.                            Chapter 11 Cases
______________________________________________________________________________

   RESPONSE OBJECTING TO MOTION OF FRANCIS PROPERTIES, L.L.C. FOR
                    RELIEF FROM THE AUTOMATIC STAY
______________________________________________________________________________

         The Debtors, for their Response to Francis Properties, L.L.C.’s Motion for Relief from the

Automatic Stay [Dkt. 86], through their attorneys state and allege as follows


         1.     The Debtors are proceeding quickly through a sale of their business as a going

concern.

         2.     The stalking horse bidder and other potential bidders may be interested in

designating the lease with Francis Properties, L.L.C. (“Francis”) for assumption and assignment.

         3.     The Debtors have not had time to assess the Iowa court proceedings to evaluate

whether Francis terminated the lease prepetition. Furthermore, the lease describes ejection and

termination as separate remedies, but does not provide a procedure for termination. Therefore, the

Debtors contend that the lease was not terminated prepetition.

         4.     The lease is necessary for an effective reorganization because any loss of potential

locations will diminish the value for potential bidders.

         5.     The Debtors request an evidentiary hearing to determine whether the lease was

terminated prepetition and whether it is necessary for an effective reorganization.


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                                               TAFT STETTINIUS HOLLISTER LLP

                                                  /e/ James M. Jorissen
     Dated: January 27, 2020                   By: _________________________
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